8:92-cr-00014-RFR-MDN   Doc # 1045    Filed: 01/04/07    Page 1 of 1 - Page ID # 675



            IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                         8:92CR14
                              )
          v.                  )
                              )
ROY WILLIAMS,                 )                 ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


           Pursuant to the memorandum opinion entered herein this

date,

           IT IS ORDERED that defendant’s motion filed pursuant to

18 U.S.C. § 3582(c)(2) (Filing No. 1038) is denied.

           DATED this 4th day of January, 2007.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
